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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:22-cv-01129

  ERIC COOMER, PhD.,

        Plaintiff

  v.

  MICHAEL J. LINDELL, FRANKSPEECH LLC,
  AND MY PILLOW, INC.,

        Defendants


                                   EXHIBIT 35
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    Andrew will be responding shortly with his Skype address!

    Blessings,
    Katelyn

    Sent from my iPhone



    On Jun 29, 2021, at 1:33 PM, Lindsay Oakley                                 wrote:


    Hey guys!
    Just checking in. I still haven’t received Andrew’s skype address. I will be skyping him in about 20 minutes to set up
    the interview. I called him and left a voicemail. Does anyone know his skype address? Please and thank you!

    Lindsay Oakley
    News Director
    <image001.png>
    One America News Network




    From: KG
    Sent: Tuesday, June 29, 2021 10:29 AM
    To: Lindsay Oakley
    Cc:                        Robert Herring                          Bobby Herring                          Chris
    Schickedanz                                      Alicia Summers                                  Gabriel Yaffe
                                Mike Lindell
    Subject: Re: OAN LIVE Interviews

    Hello Lindsay,

    Thank you for this follow up email.

    Both times are great on our end.

    Mike’s Skype is:
    After the ‘M’ is and ‘L’

    Please let me know if you need anything else from Mike’s end.

    Blessings,
    Katelyn Gamlin
    Executive Assistant


    Sent from my iPhone




     On Jun 29, 2021, at 11:47 AM, Lindsay Oakley                                  wrote:




CONFIDENTIAL                                                                                               MYPILLOW-000733
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